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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,

          Plaintiff,

   v.                                             No. 3:18-cv-00017-NKM-JCH
   ALEXANDER E. (ALEX) JONES, et al.,

                  Defendants.



                                   STIPULATION AND ORDER

         WHEREAS, Plaintiff Brennan Gilmore (“Gilmore”) sued Defendants Alexander E. Jones

  (“Jones”), Infowars, LLC (“Infowars”) and Free Speech Systems, LLC (“FSS” and, collectively

  with Jones and Infowars, the “Defendants”) for defamation in connection with the Defendants’

  publication of “Bombshell Connection Between Charlottesville, Soros, CIA” on August 15, 2017

  and “Breaking: State Department/CIA Orchestrated Charlottesville Tragedy” on August 21, 2017

  (the “Publications”);

         WHEREAS, the Publications contained language pertaining to Gilmore and the August

  2017 Unite the Right rally;

         WHEREAS, the Defendants had no evidence that Gilmore was involved in a set up or in

  any other way with the August 2017 Unite the Right rally in Charlottesville and the terrorist attack

  that killed Heather Heyer;

         WHEREAS, Jones, Infowars, and FSS do not contest Gilmore’s allegation of defamation;

         WHEREAS, Jones, Infowars, and FSS admit that the publication of “Bombshell

 Connection Between Charlottesville, Soros, CIA” on August 15, 2017 and “Breaking: State




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 Department / CIA Orchestrated Charlottesville Tragedy” on August 21, 2017 did not meet the

 journalistic standards of Jones, Infowars and FSS;

         WHEREAS, on behalf of Infowars and FSS, Alex Jones regrets those publications and their

  defamatory characterization of Mr. Gilmore, and agrees to retract them;

         WHEREAS, the parties desire to amicably resolve all claims arising out of this action;

         WHEREAS, Jones, Infowars and FSS agree to pay an agreed-upon sum of damages to Mr.

  Gilmore in the amount of $50,000, which shall be the sum total of all damages to be assessed in

  this litigation against these Defendants;

         WHEREAS, Gilmore, Jones, Infowars and FSS, having entered into a settlement

  agreement, hereby stipulate as set forth below to the entry of an order in this action:

                 IT IS ORDERED, ADJUDGED, AND DECREED as follows:

                 1.      This Court has jurisdiction over the subject matter of the above action and

  has personal jurisdiction over the parties for purposes of this action and as set forth in Paragraph

  6 below.

                 2.      Jones admits liability for the claims asserted by Gilmore in this action.

                 3.      Infowars admits liability for the claims asserted by Gilmore in this action.

                 4.      FSS admits liability for the claims asserted by Gilmore in this action.

                 5.      As a condition of settlement, Jones, Infowars and FSS have agreed to pay

  Mr. Gilmore the sum of $50,000.00, which amount shall be the total of all damages to be assessed

  in this litigation against these Defendants;

                 6.      Gilmore, Jones, Infowars, and FSS agree that this Court will retain

  jurisdiction to enforce the terms of the parties’ settlement agreement and to enforce and resolve

  any disputes related thereto, if necessary.




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                 7.      This action and all defenses thereto with respect to Gilmore, Jones,

  Infowars, and FSS are hereby dismissed with prejudice and without costs, disbursements, or

  attorneys’ fees to any party.


    /s/ Hassen A. Sayeed ______                         /s/ Marc J. Randazza______
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                             SO ORDERED thiVWKday of   $SULO       , 2022.




                                             NORMAN K. MOON
                                             SENIOR UNITED STATES DISTRICT JUDGE




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